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April 7, 2024

By ECF & 1* Class Mail

The Honorable Eric N. Vitaliano
United States District Judge
United States Courthouse

225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Carmelo Polito
22 Cr. 356 (ENV)

Dear Judge Vitaliano:

I write on behalf of defendant Carmelo Polito (“Polito” or “defendant”) to request a
modification of his bail conditions to enable him to return to work between now and his
sentencing for the number of hours (600) necessary to vest health insurance coverage for he
and his wife for the year 2025.

Medical Necessity

Defendant has been married for more than 42 years to Victoria Polito. On May 9,
2023, Mrs. Polito had open heart surgery to remove an atrial myxoma (benign tumor on the
heart) as well as a double coronary artery bypass performed by cardiovascular surgeon Dr.
Alan Roy Hartman (300 Community Drive, Manhasset, NY 11030; 516.562.4970) of
Northwell Health. She is currently taking seven prescribed medications under the care of
cardiologist Dr. Kyriaki Poumpouridis (300 Franklin Avenue, Valley Stream, NY 11580;
516.599.8280), also affilliated with Northwell Health.

Virtually all of Mrs. Polito’s medical expenses have been paid by health insurance
coverage (for the years 2023 and 2024) that defendant obtained as a result of his employment
as a union cement mason. For Mrs. Polito to have continuing health insurance coverage for
the year 2025, defendant will have to work an additional 600 hours between now and the date
of his surrender to serve any sentence of imprisonment. Defendant estimates that he could
work the required 600 hours in the 3-4 month period between now and when his sentencing is
likely to be scheduled.
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Appropriateness of Bail Reduction

Since our last bail hearing on March 20, 2024, when the Court graciously allowed Mr.
Polito to remain at home to prepare for trial, defendant has decided to accept responsibility for
his misdeeds and entered a plea of guilty to Count One of the indictment before Your Honor
on Friday, April 5, 2024.

The Court should note that not only did Mr. Polito accept personal responsibility for
himself, but he (through his counsel) played a significant role in effectuating a global
resolution of this case. On March 28, 2024, we participated in a multi-hour zoom conference
call with all defense attorneys in this case, as well as defense counsel in the related Gabriele
indictment. On April 2, 2024, the undersigned, on behalf of the Macario defendants, and
Joseph DeBenedetto, Esq., on behalf of the Gabriele defendants, met at the United States
Attorney’s Office with AUSAs Anna Karamigious and Sean Sherman. The global resolution
of the Macario case followed soon thereafter. In weighing the equities of this bail reduction
motion, Your Honor is certainly entitled to consider the enormous judicial and prosecution
resources saved as a result of that global disposition.

GJM:dlg
cc: All Counsel (by ECF)
PTSO Tara Sarnelli (by email)
